USDC IN/ND case 2:04-cr-00071-RL-APR document 218 filed 08/03/05 page 1 of 7


               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF INDIANA
                         HAMMOND DIVISION


UNITED STATES OF AMERICA,               )
                                        )
Plaintiff,                              )
                                        )
vs.                                     )     NO. 2:04-CR-71
                                        )
ANTHONY ALEXANDER,                      )
                                        )
Defendant.                              )


                           OPINION AND ORDER

      This matter is before the Court on the "Motion for New Trial,

Pursuant to Rule 33, Fed. R. Cr. Proc.," filed by pro se Defendant,

Anthony Alexander, on May 23, 2005.       For the reasons set forth below,

the Motion for New Trial is DENIED.



BACKGROUND

      On February 28, 2005, a jury verdict was returned against

Alexander, finding him guilty on all counts charged against him (1-8)

in the superseding indictment.        Alexander filed a motion to arrest

judgment on March 7, 2005, and this Court denied the motion to arrest

judgment in an opinion and order dated April 25, 2005.             On May 23,

2005, Alexander filed the present motion for a new trial.

      On June 21, 2005, this Court ordered the parties to submit

additional briefing stating why the Court should not dismiss the
USDC IN/ND case 2:04-cr-00071-RL-APR document 218 filed 08/03/05 page 2 of 7


motion for a new trial for lack of jurisdiction, as it was filed after

the required 7-day time period for motions under Federal Rule of

Criminal Procedure 33.      The parties have completed this additional

briefing, and the matter is now ripe for adjudication.



DISCUSSION

     Federal Rule of Criminal Procedure 33 establishes that "[a]ny

motion for a new trial grounded on any reason other than newly

discovered evidence must be filed within 7 days after the verdict or

finding of guilty, or within such further time as the court sets

during the 7-day period."       Fed. R. Crim. P. 33(b)(2).        The Seventh

Circuit recently reaffirmed its long-standing position that Rule 33's

time limits are jurisdictional.       See United States v. Eberhart, 388

F.3d 1043, 1049 (7th Cir. 2004); United States v. Hocking, 841 F.2d

735, 736 (7th Cir. 1988). In other words, "[a] district court may not

entertain a motion for new trial beyond the 7-day limit in Rule 33,

unless the motion is based on newly-discovered evidence or the judge

has extended the filing date during the 7-day period."1 United States

v. Brown, 742 F.2d 363, 368 (7th Cir. 1984) (citations omitted).               A

"motion for a new trial grounded on newly discovered evidence must be

filed within 3 years after the verdict or finding of guilty." Fed. R.

Crim. P. 33(b)(1).    Because Alexander's motion was filed well beyond

the 7-day limit (the verdict in this case was returned on February 28,


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      No such filing date extension was granted in this case.

                                     -2-
USDC IN/ND case 2:04-cr-00071-RL-APR document 218 filed 08/03/05 page 3 of 7


2005, and Alexander's motion for a new trial was not filed until May

23, 2005), it can only be timely if it is based on newly-discovered

evidence.   See Brown, 742 F.2d at 368.

     Alexander does claim that his motion for a new trial is based

upon newly discovered evidence, and therefore, is timely. He contends

that the basis of his motion for a new trial is information he learned

from the grand jury transcripts.       Additionally, he contends that the

grand jury transcripts were given to him one day before trial, at

approximately 2:00 p.m. or 4:00 p.m.        Alexander claims he "was never

afforded the opportunity to review the grand jury transcripts before

or during trial," and that due to his prison conditions (he claims he

was only allowed to review his legal materials for a few hours daily,

and the lights were turned out at 10:00 p.m.), and the fact that he

was representing himself pro se, he was not able to review the grand

jury transcripts until February 29, 2005 (one day after the completion

of the jury trial).    (Def.'s Reply to Govt's Br. Regarding Timeliness

of Alexander's Mot. for New Trial and Want of Jurisdiction, p. 2.)

In response, the Government argues that because Alexander admits the

grand jury transcripts were furnished to him before trial, they do not

constitute "newly discovered evidence" for the purpose of Rule 33.

     Thus, we turn to the question of whether Alexander's motion was

untimely filed because it was not based on "newly discovered" evidence

within the meaning of Rule 33.         A new trial is warranted only if

Alexander can prove that the new evidence:        (1) came to his knowledge


                                     -3-
USDC IN/ND case 2:04-cr-00071-RL-APR document 218 filed 08/03/05 page 4 of 7


only after trial; (2) could not have been discovered any sooner using

due   diligence;    (3)    is   material    and    not    merely   impeaching    or

cumulative; and (4) probably would lead to an acquittal in the event

of a new trial.     United States v. Hodges, 315 F.3d 794, 801 (7th Cir.

2003).

      First, this Court believes that the grand jury transcripts,

admittedly given to Alexander one day before trial, do not qualify as

new evidence that "came to his knowledge only after trial."                Id.   The

Government cites several cases in which evidence that was actually

discovered    by   defendants    during    trial   did    not   constitute   newly

discovered evidence. See United States v. Gootee, 34 F.3d 475, 479-80

(7th Cir. 1994) (holding possible juror misconduct during trial did

not qualify as newly discovered evidence); Brown, 742 F.2d at 368

(holding motion for new trial based on alleged ineffective assistance

of counsel was not to be interpreted as based upon newly discovered

evidence); United States v. Ellison, 557 F.2d 128, 132-33 (7th Cir.

1977) (finding facts alleged in support of a motion for new trial

based upon ineffective assistance of counsel at trial were within

defendant's knowledge at time of trial).

      Although these cases certainly stand for the proposition that

evidence discovered during trial is not "newly discovered evidence"

under Rule 33, they do not directly address the facts of this case –

where    a   defendant    asserts   that    he    had    possession   of   certain

information at trial, but claims he had no "knowledge" of it at the


                                      -4-
USDC IN/ND case 2:04-cr-00071-RL-APR document 218 filed 08/03/05 page 5 of 7


time because he had not yet had the opportunity to review the

information.      Nevertheless,    Alexander    did   have   the   grand   jury

transcripts in his possession prior to and during trial, thus this

Court believes they cannot be considered "newly discovered evidence"

under Rule 33.    During trial, Alexander did not voice any concerns to

the Court regarding his inability to review the transcripts, nor did

he ask for any continuances.      The Court notes that Alexander filed a

motion to obtain grand jury minutes on November 9, 2004.           Magistrate

Judge Andrew Rodovich denied this motion on January 14, 2005, because

Alexander had failed to demonstrate a compelling necessity or a

particularized need for the grand jury minutes.         Thus, Alexander knew

about the grand jury transcripts for some time before trial, and

wanted to review them.     Even if the Court takes Alexander at his word

and assumes that he first reviewed the transcripts one day after trial

ended, because he knew about the transcripts before, and actually

possessed the transcripts at the time of trial, this Court does not

believe they are "new evidence" that "came to his knowledge only after

trial."

     Even if this Court assumes, arguendo, that Alexander satisfied

the first prong of the test by proving that the grand jury transcripts

came to his knowledge after trial, Alexander has not proven the other

prongs of the test.        Alexander cannot show that the grand jury

transcripts could not have been discovered any sooner using due

diligence.     Alexander actually possessed the grand jury transcripts


                                     -5-
USDC IN/ND case 2:04-cr-00071-RL-APR document 218 filed 08/03/05 page 6 of 7


one day before the trial.          Although he complains that he had little

daylight hours in prison to prepare for trial, this Court believes

that had he used due diligence, he could have reviewed documents in

his possession. Also, Alexander could have voiced his concerns to the

Court       or   asked   for   additional   time   to   review   the    grand   jury

transcripts, but he did not.

        Alexander also cannot show that the grand jury transcripts were

material, and that they would have probably lead to an acquittal in

the event of a new trial.          Alexander argues in this motion that due

to prosecutorial misconduct, he was tried and convicted on charges in

a superseding indictment that were never considered by the grand jury.

This exact argument was already addressed and rejected by this Court

in its April 25, 2005 order, denying Alexander's motion to arrest

judgment, made pursuant to Rule 34.2                In his motion to arrest

judgment, Alexander set forth almost identical arguments, relying on

portions of the grand jury proceedings to support his argument of

prosecutorial misconduct and grand jury deficiencies.                  Within seven

days of receiving the verdict, Alexander relied upon the same grand

jury transcripts in his motion to arrest judgment, that he now claims

in the context of a motion for a new trial, are "newly discovered

evidence."        Since Alexander filed a motion to arrest judgment within

the 7-day time limit, relying upon the grand jury proceedings, the



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      The Court notes that the motion to arrest judgment was
timely filed within seven days after the jury verdict.

                                        -6-
USDC IN/ND case 2:04-cr-00071-RL-APR document 218 filed 08/03/05 page 7 of 7


Court does not see why he could not also have filed this motion for

a new trial within the same time period.

     Moreover, Alexander's arguments related to the grand jury have

already been addressed and rejected by this Court, and Alexander has

not shown that they would have probably lead to an acquittal in the

event of a new trial.      Additionally, Alexander has made no showing

that the evidence would be material at trial, or that evidence of

grand jury proceedings would even be admissible.

     Finally, Alexander seems to argue that even if his motion was

untimely, Rule 33 is flexible and empowers the Court to grant a new

trial if justice so requires.         Alexander is incorrect.         Rule 33's

time limits are strict and, more importantly, they are jurisdictional.

Eberhart, 388 F.3d at 1049.

     Accordingly, this Court finds that Alexander's motion is not one

based on "newly discovered" evidence.           Therefore, it was not timely

filed,   and    this   Court   must   dismiss    the   motion   for    lack    of

jurisdiction.



CONCLUSION

     For the aforementioned reasons, Alexander's "Motion for New

Trial, Pursuant to Rule 33, Fed. R. Crim. Proc.," is DENIED.



DATED:   August 3, 2005                  S/RUDY LOZANO, Judge
                                          United States District Court



                                      -7-
